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                                      United States v. Ole Hougen
                                           20-CR-00432 EJD

                                  Joint Admitted Exhibit List
EXH   SPONSORING               DATE               STARTING
 #       PARTY                                 BATES NUMBER
                      Marked for        Admitted                                   DESCRIPTION
                     Identification        in
                                        Evidence
01     Government       4/5/21           4/5/21    USA-0000004      Image of intersection (San Lorenzo and
                                                                    Broadway)
02     Government       4/5/21           4/5/21    USA-0000005      Image of intersection (San Lorenzo and
                                                                    Broadway)
03     Government       4/5/21           4/5/21    USA-0000006      Image of street (San Lorenzo)

04     Government       4/5/21           4/5/21    USA-0000007      Image of walking path

05     Government       4/5/21           4/5/21    USA-0000008      Image of walking path

06     Government       4/5/21           4/5/21    USA-0000012      911 Call Wendy Campbell Captioned

07     Government                                  USA-0000013      911 Call Carlos Nunez
                        4/6/21           4/6/21
                                                                    Captioned_Redacted

08     Government       4/5/21           4/5/21    USA-0000317      Video clip of J. Garcia body worn camera
                                                                    footage (44:14-45:30)
09     Government       4/5/21           4/5/21    USA-0000323      Video clip of K. Bailey body worn camera
                                                                    footage (0:29-1:57)
10     Government       4/5/21           4/5/21    USA-0000428      Image of S.B.




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11    Government       4/5/21      4/5/21    USA-0000429      Image of S.B.

12    Government       4/5/21      4/5/21    USA-0000431      Image of S.B.’s sheath

13    Government       4/5/21      4/5/21    USA-0000436      Image of Ole Hougen’s knife

17    Government                             N/A              Actual knife recovered from Ole Hougen
                       4/5/21      4/5/21


18    Government       4/5/21      4/5/21    USA-0000058      Picture of Ole Hougen from July 5, 2020

19    Government                             USA-0000741      Picture of Eric Jordan from December 29, 2018
                       4/5/21      4/5/21

21    Government                             USA-0000855      Satellite image of intersection of
                       4/5/21      4/5/21                     Broadway and San Lorenzo Boulevard


201    Defense          4/7          4/7     USA-0000318      Still of O. Hougen at 1:38

202    Defense          4/7          4/7     USA-0000318      Still of O. Hougen at 3:59

205    Defense          4/7          4/7     USA-0000431      Webbed Knife Holster

206    Defense          4/7          4/7     USA-0000432      Webbed Knife Holster – Officer Finger

207    Defense          4/8          4/8     USA-0000428      Head Shot – Face View


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211   Defense             4/5          4/5     USA-0000321      Still of S. Battle Knife

218   Defense             4/6          4/6     USA-0000318      Clip 1 (0:39-0:45)

219   Defense             4/6          4/6     USA-0000318      Still photo of :40 mark in BWC video

220   Defense             4/7          4/7     USA-0000321      Second Still of S. Battle Knife – full blade

N/A    Joint              4/6          4/6     N/A              Joint Stipulation re Hougen’s Prior Convictions

N/A    Joint              4/6          4/6     N/A              Joint Stipulation re Forensic Testing of
                                                                Hougen’s Knife




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